AO 72A
(Rev. 8/82)

 

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Du the Auited States District Court

for the Southern District of Georgia
Waprross Dibision

UNITED STATES OF AMERICA, )

Vv. CR 509-18

BRUCE BROWN, )

)

Defendant.

ORDER

Before the Court is Defendant Bruce Brown’s (“Brown”)
motions for appointment of counsel and motions for reduction in
sentence pursuant to 18 U.S.C. § 3582(c) (2), the Fair Sentencing
Act of 2010, and the First Step Act of 2018. Dkt. Nos. 1355,
1357, 1361 & 1362. For the reasons set forth below, Brown’s
motion is DENIED.

The Court will first address Brown’s § 3582(c) claim. In
December 2010, Brown was sentenced to 200 months’ imprisonment
with the Bureau of Prisons. Dkt. No. 938. In March 2016, the
Court reduced Brown’s sentence to 174 months’ imprisonment
pursuant to 18 U.S.C. § 3582(c) (2), fully taking into account
the retroactive amendments to the U.S. Sentencing Guidelines
that had lowered Brown’s advisory range. Dkt. No. 1276
(reducing Brown’s total offense level from 39 to 35). Brown is

not eligible for any further reduction.

 
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Next is Brown’s request for “modification of sentence for
Work & programming for earned good time credit & work credit[,]
which was signed into law by president trump.” The Bureau of
Prisons was charged with the responsibility of administering and

computing Brown’s sentence. See United States v. Wilson, 503

 

U.S. 329, 335 (1992) (“After a district court sentences a
federal offender, the Attorney General, through the BOP, has the
responsibility for administering the sentence.”). An inmate
challenging the BOP’s application of good-time credit to a
sentence must first exhaust his administrative remedies, then |
seek judicial review pursuant to a habeas petition filed under

28 U.S.C. § 2241. See Reno v. Koray, 515 U.S. 50, 53 (1995)

 

(outlining proper procedural history for inmate challenging BOP
application of sentencing credits). To the extent Brown seeks a
recalculation of his good-time credit pursuant to Section 102 of
the First Step Act, the same administrative exhaustion
requirement applies.

With respect to Brown’s assertion that the Fair Sentencing
Act was not used to determine his sentence, Brown is in error.
The Fair Sentencing Act of 2010 was enacted on August 3, 2010
and did indeed lower the crack-to-powder cocaine ratio from
100:1 to 18:1. This was considered by the Court at the time of
Brown’s sentencing. However, due to ex post facto issues, the

November 1, 2008 Guidelines Manual was used to compute Brown’s

 
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sentence rather than the November 1, 2010 Guidelines Manual.
Brown’s base offense level would have been 38 pursuant to either
edition of the Guidelines Manual, but another enhancement that
applied at the time of sentencing made the use of the 2008

Manual-—which was in effect at the time of Brown’s offense-more

favorable to Brown. Brown is not eligible for any further
sentence reduction. Brown’s motions for sentence reduction are
DENIED.

Brown’s motions for appointment of counsel are likewise
DENIED. Defendants seeking sentence reductions pursuant to
either 18 U.S.C. § 3582 or 28 U.S.C. § 2241 have no right to

appointed counsel. See United States v. Davis, 400 F. App'x 538,

 

540 (11th Cir. 2010) (“Although a defendant is entitled to
counsel during direct appeal, he does not have a Sixth-Amendment

right to counsel during collateral attacks on his sentence.”);

 

United States v. Webb, 565 F.3d 789, 794 (11th Cir. 2009) (“The
notion of a statutory or constitutional right to counsel for
§ 3582(c) (2) motions has been rejected by all of our sister
circuits that have addressed the issue, and we agree with this
consensus.”).

Brown’s motions for sentence reduction and appointment of

counsel, dkt. nos. 1355, 1357, 1361 & 1362, are DENIED.

 
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SO ORDERED, this |Z day of November, 2019.

 

UNITED TES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

HON. Ses GODBEY Weed, JUDGE

 
